      Case 18-04094              Doc 12         Filed 03/20/19 Entered 03/20/19 13:48:35
                                                  Document     Page 1 of 2                                        EOD
                                                                                                                    Desc Main

                                                                                                                  03/20/2019



                                   UNITED STATES BANKRUPTCY COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                           SHERMAN DIVISION

       IN RE:                                                    §                      CASE NO. 18-41781
                                                                 §
MARILYN SELVAGGI
                                                                 §
                            DEBTOR                               §                          CHAPTER 7
                                                                 §



   INGLISH INTERNATIONAL                                             §
   CONSTRUCTION, LLC                                                 §
                                                                     §
                                       Plaintiff,                    §
                                                                     §
   Vs.                                                               §             Adversary Proceeding No. 18-4094
                                                                     §
  MARILYN SELVAGGI                                                   §
                                                                     §
                                      Defendant.                     §




                       AGREED ORDER DISMISSING ADVERSARY PROCEEDING

         On February 26, 2019, the Court called this matter for management conference. Following

  said hearing, and based upon the parties’ representations that settlement had been reached, the parties

  have tendered this Agreed Order Dismissing Adversary Proceeding. The Court finds that the

  parties have resolved their disputes through independent documents in a manner that does not
1Notwithstanding   the fact that the Debtor-Defendant is represented by counsel in this adversary proceeding, the Court has reviewed a pleading
tendered on this date by the Defendant in a pro se capacity in which she asks that the entry of this Order be deferred due to concerns regarding a
particular provision in the underlying settlement agreement regarding her selection of a realtor for the sale of certain designated property. The
Court declines to grant such deferral because: (1) the enforceability of the settlement agreement is a post-petition, state law issue over which
this Court has no jurisdiction; (2) the Defendant is not repudiating the underlying financial terms of settlement with the Plaintiff in her
pleading; and (3) the Defendant is still free to choose her realtor with the Plaintiff's consent which cannot be unreasonably withheld. The
subsequent pleading thus fails to present sufficient cause to defer the entry of this dismissal order or, quite honestly, to demonstrate why the
dismissal of this nondischargeability adversary proceeding does not continue to be in the Debtor-Defendant's best interests.

                                                                                                                         PAGE 1 OF 2
  Case 18-04094       Doc 12      Filed 03/20/19 Entered 03/20/19 13:48:35             Desc Main
                                    Document     Page 2 of 2



impact the bankruptcy estate and thus requires no further notice to creditors. Thus, pursuant

to the agreement of the parties, the Court finds that just cause exists for entry of the following

order.

         IT IS THEREFORE ORDERED that the complaint in the above-referenced adversary

proceeding is hereby DISMISSED.


                                        Signed on 03/20/2019




                                       THE HONORABLE BILL PARKER
                                       CHIEF UNITED STATES BANKRUPTCY JUDGE



         ACKNOWLEDGED AND AGREED:                     /s/ D. Shawn Council
                                                      D. Shawn Council
                                                      Texas Bar No.
                                                      2615 Lee St.
                                                      P.O. Box 11
                                                      Greenville, TX 75403
                                                      Tel. 903-455-1991
                                                      Fax 903-455-1417
                                                      scouncil@councilfirm.com
                                                      ATTORNEY FOR DEFENDANT
                                                      MARILYN SELVAGGI

                                                      /s/ T. Rick Frazier
                                                      T. Rick Frazier
                                                      Texas Bar No. 0740655
                                                      2591 Dallas Pkwy, Suite 300
                                                      Frisco, TX 75034-8563
                                                      Tel. 972-661-3288
                                                      Fax 844-558-5758
                                                      trickfrazier@me.com
                                                      ATTORNEY FOR PLAINTIFF
                                                      INGLISH INTERNATIONAL
                                                      CONSTRUCTION, LLC

                                                                                          PAGE 2 OF 2
